                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      at KNOXVILLE

 UNIVERSITY OF TENNESSEE RESEARCH )
 FOUNDATION,                      )
                                  )                        No. 3:19-CV-508
      Plaintiff,                  )
                                  )                        Judge Collier
 v.                               )
                                  )                        Magistrate Judge Lee
 CAELUM BIOSCIENCES, INC.,        )
                                  )
      Defendant.                  )

                                             ORDER

        Before the Court is a motion to dismiss Plaintiff’s initial complaint. (Doc. 22.) On March

 6, 2020, Plaintiff filed an amended complaint. (Doc. 30.) On March 27, 2020, Defendant filed a

 motion to dismiss Plaintiff’s amended complaint. (Doc. 35.)

        Based on the straightforward principle that “[a]n amended complaint supersedes an earlier

 complaint for all purposes,” In re Refrigerant Compressors Antitrust Litig., 731 F.3d 586, 589 (6th

 Cir. 2013), courts generally hold that pending motions directed to the initial complaint are properly

 denied as moot, see, e.g., Lopez v. Metro. Gov't of Nashville, No. 3:07-CV-0799, 2008 WL 913085,

 at *2 (M.D. Tenn. Apr. 1, 2008) (denying motion for summary judgment after amendment); Ware

 v. C.R. Bard, Inc., No. 1:07-CV-172, 2007 WL 2463286, at *2 (E.D. Tenn. Aug. 28, 2007)

 (denying motion to dismiss original complaint as moot after amendment). An exception to this

 general rule applies when the amended complaint is substantially identical to the initial complaint.

 See, e.g., Greater Cincinnati Coal. for the Homeless v. City of Cincinnati, No. 1:08-CV-603, 2009

 WL 3029661, at *4 (S.D. Ohio Sept. 16, 2009). That exception does not apply here, in that




Case 3:19-cv-00508-CEA-JEM Document 45 Filed 05/14/20 Page 1 of 2 PageID #: 673
 Plaintiff’s second amended complaint adds factual allegations and a new cause of action. (See,

 e.g., Doc. 30 at 45–48 [Count VII].)

        The Court accordingly DENIES Defendant’s first motion to dismiss (Doc. 22) as MOOT.

        SO ORDERED.

        ENTER:



                                                   /s/____________________________
                                                   CURTIS L. COLLIER
                                                   UNITED STATES DISTRICT JUDGE




                                               2


Case 3:19-cv-00508-CEA-JEM Document 45 Filed 05/14/20 Page 2 of 2 PageID #: 674
